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     7
     8                          UNITED STATES DISTRICT COURT
     9                        CENTRAL DISTRICT OF CALIFORNIA
 10                                     SOUTHERN DIVISION
 11
          NATURAL IMMUNOGENICS                CASE NO. 8:15-cv-02034-JVS (JCGx)
 12       CORP., a Florida Corporation,
                                              Assigned to the Hon. James V. Selna
 13                       Plaintiff,          Courtroom 10C
 14       vs.                                 NOTICE OF MOTION AND MOTION
                                              FOR PARTIAL JUDGMENT ON THE
 15       NEWPORT TRIAL GROUP, et al.,        PLEADINGS IN FAVOR OF
                                              VICTORIA C. KNOWLES AND
 16                       Defendants.         DAVID REID
 17                                           Hearing Date:      November 16, 2020
                                              Time:              1:30 p.m.
 18                                           Place:             None set
 19                                           Hon. JAMES V. SELNA
 20                                           [Request for Judicial Notice filed
                                              concurrently]
 21
 22
 23
 24
 25
 26
 27
 28
                   FERRELL’S MOTION FOR JUDGMENT ON THE PLEADINGS
mm
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 1                           NOTICE OF MOTION AND MOTION
 2 TO ALL PARTIES AND COUNSEL OF RECORD:
 3           NOTICE is given that Defendants VICTORIA C. KNOWLES and
 4 DAVID REID respectfully will and hereby do move the Court for an order granting
 5 judgment on the pleadings and dismissing without leave to amend Counts Two, Three
 6 and Four of the Fourth Amended Complaint (Docket No. 1007). The motion is
 7 calendared for Monday, November 16, 2020 at 1:30 p.m.
 8           This motion is and will be based on the grounds that the Fourth Amended
 9 Complaint fails to plead those claims for relief plausibly and with particularity, as
10 required by Rule 8(a) and 9(b) of the Fed. R. Civ. P., and that Knowles and Reid are
11 entitled to judgment as a matter of law under Rule 12(c), and that Plaintiff Natural
12 Immunogenics Corp. (“NIC”) also lacks standing to pursue injunctive or other equitable
13 relief.
14           This motion is and will be based on this notice of motion; the accompanying
15 memorandum of points and authorities; the Request for Judicial Notice (“RJN”) filed
16 concurrently herewith; the pleadings and papers on file in this action; and on such oral
17 argument and other matters as the Court may properly consider at the time of the hearing
18 of this motion. A [Proposed] Order is attached, infra.
19           This motion is made following the conference of counsel pursuant to Civ. L.R. 7-3
20 that took place on October 9, 2020. NIC’s counsel states that they do not oppose
21 dismissal of Count Four, which alleges violations of the California Unfair Competition
22 Law.
23
     DATED: October 19, 2020                      TAULER SMITH LLP
24
                                                  By: /s/ Robert Tauler
25                                                Robert Tauler
                                                  Attorneys for Defendants
26                                                VICTORIA C. KNOWLES
                                                  and DAVID REID
27
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2         Defendants Victoria C. Knowles and David Reid respectfully move for judgment
 3 on the pleadings and dismissal with prejudice of the RICO claims in Counts Two and
 4 Three of the Fourth Amended Complaint (Docket No. 1007) and the Unfair Competition
 5 Law (the “UCL”) claim in Count Four. See Fed. R. Civ. P. 12(c). The Fourth Amended
 6 Complaint fails to plead those claims for relief plausibly and with particularity, as
 7 required by Rule 8(a) and 9(b) of the Fed. R. Civ. P., and no amendment is possible that
 8 would cure those defects.
 9         Knowles and Reid were attorneys with Defendant Newport Trial Group (or
10 “NTG”) where, allegedly, they “designed, initiated, and pursued fabricated and
11 fraudulent legal claims in state and federal court.” See Docket No. 1007, ¶ 5 (Knowles)
12 and ¶ 6 (Reid). Nevertheless, counsel for Plaintiff Natural-Immunogenics Corp. (or
13 “NIC”) have told counsel for Knowles and Reid, in connection with their conference
14 under Civ. L.R. 7-3, that NIC agrees the UCL claim in Count Four ought to be
15 dismissed, for lack of a cognizable remedy under the UCL. Though counsel disagree
16 regarding the RICO claims, NIC also does not (and cannot) plead plausibly and
17 specifically that any alleged RICO predicate crimes by Knowles or Reid have actually
18 or proximately caused any cognizable injury to the business or property of NIC, as
19 required to justify pursuing a civil RICO case against them under 18 U.S.C. § 1964(c).
20                                   I.     BACKGROUND
21         All the claims in this entire case arise from an underlying suit against NIC, styled
22 as Nilon v. Natural-Immunogenics Corp., No. 3:12- cv-00930-LAB-BGS, in the U.S.
23 District Court for the Southern District of California (the “Nilon v. NIC Action”). In the
24 underlying Nilon v. NIC Action, “Nilon’s claim, as well as the claim of the putative
25 class, [was] that NI made certain representations about the benefits of Sovereign Silver
26 that simply aren’t true, leaving every purchaser with a product of either diminished
27 value or no value whatsoever.” See Order on NI’s Motion to Dismiss and for Class
28 Certification at 8, Nilon v. NIC Action (April 15, 2014) (Exhibit 3 to the accompanying
                                                1
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 1 Request for Judicial Notice, or “RJN”). “Sovereign Silver” was a brand name for NIC’s
 2 colloidal silver product, which “is basically positively charged silver particles suspended
 3 in purified water.” Id. at 1. NIC now claims the Nilon v. NIC Action lacked probable
 4 cause, solely because the two class representatives – namely, the “non-NTG
 5 Defendants” in this action, Andrew Nilon and Giovanni Sandoval – had not actually
 6 purchased the Sovereign Silver product in reliance on the representations about
 7 Sovereign Silver; and also because one of them (Sandoval) was not a member of the
 8 class of California residents (since he allegedly lived in Arizona). See Fourth Am.
 9 Compl. (Docket No. 1007), ¶¶ 385-386. Allegedly:
10               In that suit [i.e., the Nilon v. NIC Action], NTG promised the lead
11         Plaintiff and class representative, Andrew Nilon, $1,000 from any settlement
12         or judgment if he would serve as a putative plaintiff and support false
13         allegations. Nilon either did not purchase NIC’s product before suit was
14         filed or he purchased it at NTG’s direction for the sole purpose of staging
15         suit. Thus, he did not rely on NIC’s representations regarding the product
16         and Nilon’s allegations were therefore fraudulent and fabricated.
17 Id., ¶ 13. NIC therefore alleges that it “endured more than three years of litigation based
18 on Nilon’s fabricated and fraudulent claims, and incurred substantial legal fees as a
19 proximate and foreseeable result of NTG’s fraudulent scheme involving frivolous
20 shakedown lawsuits.” Id., ¶ 14.
21         Importantly, NIC has never alleged that its own representations about Sovereign
22 Silver’s purported benefits were actually true. That part of the Nilon v. NIC Action has
23 never been challenged as being “fabricated and fraudulent.” Cf. State v. Valerie Saxion,
24 Inc., 450 S.W.3d 602, 605 n.2 (Tex. Ct. App. 2014) (describing allegations by the State
25 of Texas concerning alleged misrepresentations about colloidal silver’s purported
26 benefits). Instead:
27               29.     In the CLRA Scheme, NTG, its attorneys and its plaintiffs-for-
28         hire made intentionally false representations that (1) the plaintiff purchased
                                                 2
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 1         the defendant’s product in reliance on advertising claims and
 2         representations; (2) that the product did not work for the “plaintiff” as
 3         advertised; and (3) that the plaintiff was injured in their money or property
 4         as a result of their reliance on advertising claims.
 5 Fourth Am. Compl. (Docket No. 1007), ¶ 29. NIC’s pleading adds: “The fraudulent and
 6 fabricated Nilon suit was but one of many similar lawsuits filed by NTG over at least a
 7 five year period. This Second Amended Complaint (SAC) [sic] sues NTG for its use of
 8 for-hire plaintiffs who suffered no actual injury in the suits NTG fabricated.” Id., ¶ 13.
 9 NIC further describes a “pattern” and “scheme” that spans far beyond the Nilon v. NIC
10 Action, to encompass other lawsuits that had no connection with NIC nor any effect on
11 NIC’s business. See id., ¶ 2. However, NIC only alleges that it suffered any actual
12 injury, based on the expenses of defending the underlying Nilon v. NIC Action itself. See
13 id., ¶ 447.
14         All of that is deeply ironic (if not malicious, in its own right), since (as it turns out)
15 lack of reliance is also the main reason why NIC’s own claims for RICO damages are
16 doomed as a matter of law in this action. “[L]ogically, a [RICO] plaintiff cannot even
17 establish but-for causation if no one relied on the defendant’s alleged misrepresentation.”
18 See Painters & Allied Trades Dist. Council 82 Health Care Fund v. Takeda Pharms. Co.
19 Ltd., 943 F.3d 1243, 1259 (9th Cir. 2019). Presumably because the UCL does allow
20 actions for damages at all (see Cal. Bus. & Profs. Code § 17203), NIC does not expressly
21 claim any damages in Count Four – which is why, now, NIC’s counsel has agreed Count
22 Four ought to be dismissed. Counts Two, Three and Four against Knowles and Reid
23 should be dismissed, without leave to amend.
24                                       II.    ARGUMENT
25 A.      Knowles and Reid Are Entitled to Judgment as a Matter of Law as to
26         Plaintiff’s RICO Claims.
27         “RICO was intended to combat organized crime, not to provide a federal cause of
28 action and treble damages to every tort plaintiff.” Oscar v. University Students Co-Op.
                                                3
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 1 Ass’n, 965 F.2d 783, 786 (9th Cir. 1992) (en banc). At bottom, Plaintiff NIC claims to be
 2 the victim of an allegedly tortious malicious prosecution in the underlying Nilon v. NIC
 3 Action – nothing more, nor less. In contrast, the RICO statute “imposes a standing
 4 requirement: a plaintiff must show that the RICO violation proximately caused an injury
 5 to his business or property.” Thomas v. Baca, 308 Fed. App’x 87, 88 (9th Cir. Jan. 9,
 6 2009). To be clear, “the plaintiff only has standing if, and can only recover to the extent
 7 that, he has been injured in his business or property by the conduct constituting the
 8 violation.” Sedima v. Imrex Co., 473 U.S. 479, 496, 105 S. Ct. 3275, 87 L. Ed. 2d 346
 9 (1985). Therefore, “to state a claim under civil RICO, the plaintiff is required to show
10 that a RICO predicate offense ‘not only was a “but for” cause of his injury, but was the
11 proximate cause as well.’ ” Hemi Grp., LLC v. City of New York, 559 U.S. 1, 9, 130 S.
12 Ct. 983, 175 L. Ed. 2d 943 (2010) (quoting Holmes v. SIPC, 503 U.S. 258, 268, 112 S.
13 Ct. 1311, 117 L. Ed. 2d 532 (1992)). Consequently, the inquiry into NIC’s alleged injury
14 and its putative RICO standing necessarily disregards the alleged misconduct concerning
15 other lawsuits – where NIC was not involved – and focuses solely on the conduct of the
16 underlying Nilon v. NIC Action against NIC itself. As a matter of law, Knowles and
17 Reid are entitled to judgment because NIC does not (and cannot) plausibly allege that any
18 conduct in the Nilon v. NIC action (nor any of the other actions) proximately caused
19 injury to NIC in its business or its property.
20         1.    Plaintiff’s Damages are Non-Recoverable Attorney’s Fees.
21         NIC does not (and cannot) plausibly allege that Knowles or Reid have caused any
22 actual injury to its “business or property.” Under RICO:
23         (c) Any person injured in his business or property by reason of a violation of
24         section 1962 of this chapter may sue therefor in any appropriate United
25         States district court and shall recover threefold the damages he sustains and
26         the cost of the suit, including a reasonable attorney’s fee ….
27 18 U.S.C. § 1964(c). The Ninth Circuit “has not recognized the incurment of legal fees
28 as an injury cognizable under RICO, and we decline to do so here.” Thomas, 308 Fed.
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 1 App’x at 88. This Court acknowledged Thomas more than four years ago in this action
 2 (back on April 19, 2016), when the Court decided not to dismiss the Corrected First
 3 Amended Complaint on the basis of Thomas – despite NIC’s attempt to recover its
 4 attorney’s fees as RICO damages – reasoning that Thomas “did not affirmatively
 5 foreclose that possibility.” See Docket No. 88-1 at 18-19. Today though, the weight of
 6 persuasive authority in this District and elsewhere holds that, indeed, legal fees are not an
 7 injury cognizable under RICO: “The Ninth Circuit has not recognized, and specifically
 8 declined to recognize, legal fees as a cognizable injury under RICO.” Herzer v.
 9 Redstone, 2018 WL 5094933, at *5 (C.D. Cal. July 10, 2018) (citing Thomas and other
10 decisions).
11         Here and now, Count Two alleges that “Plaintiff NIC was injured in its business
12 and property because it endured approximately three years of protracted and costly
13 litigation stemming entirely from the enterprise’s false statements of material facts.”
14 Fourth Am. Compl. ¶ 447. Count Three alleges that, “[a]s a direct and proximate result
15 of Defendants’ conspiracy, the overt acts taken in furtherance of that conspiracy, and
16 violations of 18 U.S.C. § 1962(d), Plaintiffs [sic] have been injured in their [sic] business
17 and property as described in paragraphs 453 through 458 herein.” Id., ¶ 459. There is
18 only one plaintiff in this action – namely, Plaintiff NIC – and NIC’s only alleged injury
19 to its business and property is the “protracted and costly litigation” of the Nilon v. NIC
20 Action. Protracted and costly litigation can be grounds to sue for malicious prosecution,
21 but it is not a cognizable RICO injury to business or property. See also, e.g., Pick v. Kay,
22 2020 U.S. Dist. LEXIS 119098, *19 (C.D. Cal. July 7, 2020); Kamal v. Cty. of Los
23 Angeles, 2019 WL 2502433, *8-9 (C.D. Cal. May 2, 2019), report and recommendation
24 accepted, 2019 WL 2501478 (C.D. Cal. June 17, 2019); Ogden v. Wells Fargo Bank,
25 N.A., 2015 WL 13413390, at *2 (C.D. Cal Feb. 20, 2015); Holloway v. Clackamas River
26 Water, 2014 WL 6998069, at *9 (D. Or. Sept. 9, 2014).
27         Plaintiff also alleges in Count One (for malicious prosecution of the Nilon v. NIC
28 Action) that “NIC incurred approximately $250,000 in legal fees and costs, plus damage
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 1 to goodwill and reputation (actual and presumed) provable at trial.” Id., ¶ 392. But
 2 damage to reputation is also insufficient to allege injury under RICO under Counts Two
 3 and Three. See Hunt v. Zuffa, LLC, 361 F. Supp. 3d 992, 1001 (D. Nev. 2019).
 4         2.    Plaintiff’s Own Allegations Negate Any Possibility of RICO Injury to its
 5               Business and Property Resulting from the Alleged Predicate Offenses.
 6         Furthermore (and separately), NIC cannot plausibly allege that its claimed
 7 attorney’s fee RICO damages were actually caused by anything more direct and
 8 proximate than NIC’s own lack of diligence. When RICO claims are predicated upon
 9 mail fraud or wire fraud (as they are here), the plaintiff must plead facts showing that
10 reliance upon the allegedly false statements would have been reasonable. Sosa v.
11 DIRECTV, Inc., 437 F.3d 923, 940 (9th Cir. 2006). The plaintiff also cannot plead
12 proximate causation, without alleging facts sufficient to show that “someone” – though,
13 not necessarily the plaintiff itself – actually “relied on the defendant’s
14 misrepresentations.” See Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 658, 128
15 S. Ct. 2131, 170 L. Ed. 2d 1012 (2008). This is because, as the Ninth Circuit has recently
16 explained, “a plaintiff cannot even establish but-for causation if no one relied on the
17 defendant’s alleged misrepresentation.” Painters, 943 F.3d at 1259 (citing Bridge, 553
18 U.S. at 658-59).
19         Mostly, NIC’s current pleading does not even try to plead reliance by anyone.
20 Nobody actually relied upon the demand letter of December 27, 2011. See Fourth Am.
21 Compl., ¶¶ 58-62. Nobody actually relied upon the allegations of the Nilon v. NIC
22 complaint filed in state court on March 2, 2012. See id., ¶¶ 63-74. Instead, NIC filed an
23 answer that flatly denied the allegations. See RJN Exhibit 1. Nobody actually relied
24 upon Nilon’s excuses for missing his deposition dates in May 2013, February 2014 or
25 May 2014. See id. Fourth Am. Compl., ¶¶ 88-100. There is simply no allegation that
26 NIC or anybody else was ever misled into believing those excuses were true. As a matter
27 of law, therefore, neither Knowles not Reid is liable under RICO for these allegedly false
28 statements.
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 1         According to ¶ 81 of the Fourth Amended Complaint, the judge allowed leave to
 2 amend the Nilon v. NIC pleadings on September 30, 2013 in reliance upon the
 3 “representations made in the Motion to Certify” filed on behalf of Nilon on February 26,
 4 2013. According to this allegation, “[h]ad Judge Burns known the truth, he would have
 5 denied certification with prejudice since the action was brought by an invalid class
 6 representative and knowingly false representations of material fact.” Id. Allegedly, that
 7 motion “made the following false material representations”:
 8         a.    That Nilon had purchased the Sovereign Silver product in San Diego
 9               County.
10         b.    That Nilon had relied on representations made by [NIC] regarding the
11               efficacy of Sovereign Silver, and, but for those representations, Nilon
12               would not have purchased or paid as much for the product.
13         c.    That Nilon’s experience in relying on the representations made by
14               NIC was similar to those of the “Class.”
15 Id., ¶ 67. But Judge Burns actually said nothing in his ruling to indicate that the decision
16 to allow leave to amend the complaint was based upon any of the cited
17 (mis)representations in the motion to certify. See Order Denying Motion for Class
18 Certification Without Prejudice (RJN Exhibit 2), Nilon v. NIC Action (Sept. 30, 2013).
19 To the contrary, the entire judicial analysis “reach[ed] beyond the parties’ own
20 arguments” (id. at 4) – meaning, in other words, that the court did not rely on the parties’
21 contentions whatsoever in reaching its decision. At the same time, the judge’s order
22 specifically “caution[ed]” that Nilon’s complaint was really based on little more than
23 “conclusory in nature” allegations, which would need to be “beefed up” if the case were
24 to receive class certification. Id. at 5-6. Thus, NIC can only speculate (at most) as to
25 how Judge Burns might have ruled differently on September 30, 2013 by allowing leave
26 to amend the complaint, if he had known differently vis-à-vis the alleged misstatements
27 in the motion to certify. Similarly, ¶ 86 alleges that the judge granted class certification
28 on April 15, 2014, based upon a finding of “typicality,” allegedly in reliance on the same
                                               7
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 1 “intentionally false” statements contained in the amended complaint by Nilon. But the
 2 judge’s decision expressly disavowed any reliance upon “the specific facts from which it
 3 [i.e., Nilon’s claim] arise or the relief sought.” See Order on NI’s Motion to Dismiss and
 4 Nilon’s Motion for Class Certification (RJN Exhibit 3) at 8, Nilon v. NIC Action (April
 5 15, 2014) (quoting Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992)).
 6 Once again, therefore, any inference of reliance is entirely speculative.
 7         At most, a plausible allegation of reliance by anyone can only be found in ¶ 102-
 8 104, 106-107, 114 and 120 – where NIC alleges that Judge Burns allowed Nilon to
 9 withdraw and Sandoval to substitute as the class representative on August 22, 2014,
10 relying upon allegedly false statements by Nilon concerning his grandmother’s illness
11 and moving to San Francisco to care for her, and other statements by Sandoval that he
12 was a member of the class of California residents when, according to NIC’s allegations,
13 he was a resident of Arizona. See Order on Plaintiff’s Motion to Substitute Class
14 Representative (RJN Exhibit 5), Nilon v. NIC Action (Aug. 22, 2014). However, the
15 court’s alleged reliance is still not enough to demonstrate a plausible theory of causation
16 between Knowles or Reid and the injury that NIC alleges was the result – namely, the
17 attorney’s fees for defending the Nilon v. NIC Action, after Sandoval’s substitution. This
18 is because, regardless of these alleged misrepresentations, the Nilon v. NIC Action still
19 would not have been dismissed in August 2014 – and nothing in the Fourth Amended
20 Complaint alleges plausibly (or at all) that it would have been dismissed, but for these
21 alleged misstatements. This is made clear by the Order itself, where the court explained:
22         “[O]nce certified, a class acquires a legal status separate from that of the
23         named plaintiffs,” and while there may be grounds for dismissing a named
24         plaintiff as a representative, those aren’t necessarily grounds “for the
25         simultaneous dismissal of the class action, if members of that class might
26         still have live claims.” Birmingham Steel Corp. v. Tennessee Valley
27         Authority, 353 F.3d 1331, 1336 (11th Cir. 2003).
28 RJN Exhibit 5 at 7. This indicates that Judge Burns would not have dismissed the case,
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 1 even if Sandoval had told the truth about allegedly living in Arizona – in other words, not
 2 even if there were grounds for not allowing Sandoval as a named representative. For the
 3 same reason, there is also no plausible basis to infer Judge Burns would have dismissed
 4 the case, even if Nilon had not lied (as alleged) about his grandmother in San Francisco.
 5 At most, perhaps, it could be inferred that Nilon’s request to withdraw would have been
 6 denied and that Sandoval’s request to substitute would have been denied; but, “[i]t is
 7 speculation upon speculation” to infer that such denials would have led the court to
 8 dismiss the action, and thereby, that they would have saved NIC any of its claimed
 9 attorney’s fees. See Rouse v. United States Dep’t of State, 567 F.3d 408, 417 (9th Cir.
10 2009) (affirming dismissal under Rule 12(b)(6), for “lack of causation”). To the
11 contrary, the court was clear in stating that “this is a live case that deserves to see a
12 substantive end.” RJN Exhibit 5 at 7. Thus, the “alleged harm is too speculative and
13 attenuated to have been proximately caused by the … Defendants’ purportedly fraudulent
14 submissions” in requesting to substitute Sandoval for Nilon as the class representative.
15 See Harmoni Int’l Spice v. Bai, 2016 WL 6571272, at *13 n.11 (C.D. Cal. Aug. 5, 2016).
16         There is also a second and separate reason why the judge’s alleged reliance in
17 granting Sandoval’s substitution for Nilon as the class representative on August 22, 2014
18 is not enough to plead a plausible theory of proximate causation. The reason is that
19 NIC’s own lack of diligence, after Sandoval had substituted into the case, contributed to
20 the expenses of defending the case. “Proximate cause for RICO purposes ... should be
21 evaluated in light of its common-law foundations.” Hemi, 559 U.S. at 9 (citation
22 omitted). The Supreme Court has explained generally that:
23         Common-law “proximate cause” formulations varied, and were often both
24         constricted and difficult to comprehend. See T. Cooley, Law of Torts 73-77,
25         812-813 (2d ed. 1888) (describing, for example, prescriptions precluding
26         recovery in the event of any “intervening” cause or any contributory
27         negligence). Some courts cut off liability if a “proximate cause” was not the
28         sole proximate cause. [W. Keeton, D. Dobbs, R. Keeton, & D. Owen,
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 1         Prosser and Keeton on Law of Torts] § 65, p. 452 [(5th ed. 1984)] (noting
 2         “tendency ... to look for some single, principal, dominant, ‘proximate’ cause
 3         of every injury”).
 4 CSX Transp., Inc. v. McBride, 564 U.S. 685, 692-693, 131 S. Ct. 2630, 180 L. Ed. 2d 637
 5 (2011) (holding that Congress has replaced the common law principles, for claims under
 6 the Federal Employers’ Liability Act). Yet, despite the “often lamented … degree of
 7 disagreement regarding the principles of proximate causation,” one thing is clearly
 8 agreed, under settled precedent: at common law, the plaintiff’s own contributory
 9 negligence is an intervening or superseding cause, which precludes recovery. See Exxon
10 Co. v. Sofec, 517 U.S. 830, 838, 116 S. Ct. 1813, 135 L. Ed. 2d 113 (1996).
11         When it comes to proximate cause, “the Supreme Court has clearly held that RICO
12 ‘should not get … an expansive reading[.]’ ” City of Oakland v. Wells Fargo & Co., 2020
13 WL 5035815, at *14 n.22 (9th Cir. Aug. 26, 2020) (quoting Holmes, 503 U.S. at 266).
14 Here, the court in the underlying Nilon v. NIC Action determined that NIC itself
15 “contributed to the delay in this case” to such an extent that “[h]ad Natural
16 Immunogenics acted with more diligence, it could have avoided the expenses” –
17 meaning, its attorney’s fees – that “it seeks to recover.” See Order Denying Defendant’s
18 Motion for Sanctions (RJN Exhibit 8) at 7, Nilon v. NIC Action (Oct. 28, 2015).
19 Importantly, NIC was requesting only $91,863.96 of its fees from NTG and Ferrell,
20 because “NIC … requests only those costs and fees related to legal events that likely
21 would have occurred regardless of whether Sandoval was deposed in October 2014 or
22 April 2015.” See Memorandum of Points and Authorities in Support of Defendant’s
23 Motion for Rule 11 and Other Monetary Sanctions (RJN Exhibit 7) at 2 n.2, Nilon v. NIC
24 Action (June 24, 2015).1 But even excluding fees that could have been avoided by
25         1
             As NIC itself explained:
26         In its Final Order on May 22, 2015, the Court noted that NIC’s former
           counsel shared responsibility for delays in this case by failing to depose
27         Plaintiff Sandoval in October 2014. … NIC respects that ruling and,
           accordingly, limits this instant request to fees and costs directly caused by
28         Plaintiff’s sanctionable conduct, while excluding fees and costs that NIC
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 1 deposing Sandoval back in October 2014, the court had already observed other instances
 2 of NIC’s lack of diligence – that is to say, other than its own slow-walking of the
 3 Sandoval deposition until April 2015 – namely, NIC’s “inexcusable” delay in seeking
 4 any orders relating to the deposition of Sandoval’s predecessor Nilon on four occasions
 5 in May 2013, February 2014 and May 2014. See Order Granting in Part and Denying in
 6 Part Defendant’s Motion to Compel (RJN Exhibit 4), at 5-7, Nilon v. NIC Action (July
 7 31, 2014). Thus, by refusing to award even the remaining $91,863.96 of NIC’s fees
 8 which the delay in deposing Sandoval did not affect, the court’s decision of October 28,
 9 2015 necessarily held that NIC’s own lack of diligence contributed to causing all the
10 other fees it incurred, too. That determination is preclusive here. See Taylor v. Sturgell,
11 553 U.S. 880, 892, 128 S. Ct. 2161, 171 L. Ed. 2d 155 (2008) (issue preclusion bars
12 “successive litigation of an issue of fact or law actually litigated and resolved …, even if
13 the issue recurs in the context of a different claim”) (citation and internal quotation marks
14 omitted); Paulo v. Holder, 669 F.3d 911, 917 (9th Cir. 2011) (stating the requirements
15 for federal issue preclusion). Thus, as a matter of law, NIC’s own contributory
16 negligence is a superseding cause of the attorney’s fees it incurred, which precludes
17 proximate cause. See Exxon, 517 U.S. at 838.
18         3.    The RICO Statute Does Not Authorize Private Equitable Relief.
19         As the Court has previously determined, by granting partial summary judgment
20 nearly three years ago, NIC “does not have standing to seek injunctive relief in this case.”
21 See Docket No. 552 at 8 (Dec. 22, 2017). Nevertheless, the Fourth Amended Complaint
22 continues to seek a broad set of injunctions and other equitable remedies. See Docket
23 No. 1007 at 107 (¶¶ D, E, F and H of the Prayer for Relief). But even if NIC did have
24
25       incurred during, or as a result of, its failure to timely depose Plaintiff
         Sandoval in October 2014. In other words, NIC seeks only those costs and
26       fees for legal events that would have occurred regardless of whether Mr.
         Sandoval was deposed in October 2014 or April 2015.
27
   Notice of Hearing and Defendant’s Motion for Rule 11 and Other Monetary Sanctions
28 (RJN Exhibit 6), at iii n.1, Nilon v. NIC Action (June 24, 2015).
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 1 standing under Article III to pursue an injunction (which, it does not), the RICO statute
 2 does not allow for equitable relief in private civil actions like this one. Religious Tech.
 3 Ctr. v. Wollersheim, 796 F.2d 1076, 1088 (9th Cir. 1986) (“Thus we conclude that
 4 Congress did not intend to give private RICO plaintiffs any right to injunctive relief.”).
 5 This is because, “the inclusion of a single statutory reference to private plaintiffs, and the
 6 identification of a damages and fees remedy for such plaintiffs in part (c) [i.e., 1.8 U.S.C.
 7 § 1964(c)], logically carries the negative implication that no other remedy was intended
 8 to be conferred on private plaintiffs.” Religious Tech., 796 F.2d at 1088. For this reason
 9 alone, judgment on the pleadings is warranted regarding the requested equitable remedies
10 that are unavailable under RICO.
11 B.      Plaintiff Has No Plausible Claim for Relief under the California UCL.
12         “Plaintiff NIC brings this Cause of Action” – meaning, Count Four – “on behalf of
13 themselves [sic] and on behalf of the public as private attorneys [sic] general pursuant to
14 Business & Professional Code § 17204.” Fourth Am. Compl. ¶ 466. Private parties like
15 NIC can only seek equitable relief and restitution, not damages, under the UCL. Korea
16 Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1150, 131 Cal. Rptr. 2d 29, 63
17 P.3d 937 (2003). Section 17203 authorizes the court to “make such orders or judgments .
18 . . to restore to any person in interest any money or property, real or personal, which may
19 have been acquired by means of such unfair competition.” (Emphasis added). A UCL
20 restitution order under § 17203 is one “ ‘compelling a UCL defendant to return money
21 obtained through an unfair business practice to those persons in interest from whom the
22 property was taken, that is, to persons who had an ownership interest in the property ….’
23 [Citation.]” Id. at 1144-45 (emphasis added). Nothing in the Fourth Amended Complaint
24 even attempts to allege that Knowles or Reid has obtained any property that was ever taken
25 from NIC. Consequently, no restitution is possible. There is nothing to be restored.
26         NIC’s counsel has stated that they do not oppose dismissal of Count Four.
27 Because the Court has already correctly determined that NIC also does not have standing
28 to seek injunctive relief in this case, Knowles and Reid are entitled to judgment as a
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1 matter of law on this UCL claim.
2                                    III.   CONCLUSION
3          Judgment on the pleadings is warranted regarding Counts Two, Three and Four
4 against Knowles and Reid. Those claims for relief should be dismissed with prejudice,
5 and without leave to amend, because any amendment would be futile.
6
      DATED: October 19, 2020                     TAULER SMITH LLP
7
                                            By:   /s/ Robert Tauler
8                                                 Robert Tauler
                                                  Attorneys for Defendants
9                                                 VICTORIA C. KNOWLES
                                                  and DAVID REID
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1                                CERTIFICATE OF SERVICE
2          I hereby certify that on October 19, 2020, copies of the foregoing document were
3 served by the Court’s CM/ECF system to all counsel of record in this action.
4
      DATED: October 19, 2020                    TAULER SMITH LLP
5
6
7                                          By:   /s/ Robert Tauler
                                                 Robert Tauler
8                                                Attorneys for Defendant
                                                 VICTORIA C. KNOWLES and
9                                                DAVID REID
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